    
 

~ SENDER: COMPLETE THIS SECTION

  
 

  

m Complete items 1, 2, and 3. Also complete

item 4 if Restricted Delivery is desired.

@ Print your name and address on the reverse
so that we can return the card to you.

@ Attach this card to the back of the mailpiece,
or on the front if space permits.

  

  

t COMPLETE THIS SECTION OA

 

1. Article Addressed to:

~- — * =3

nag il

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SUN PRAIRIE WI 53590

 

 

 

Pes

A. Signature
xh [ ) \ 1 Addressee
eceived by (Printed Name C. Date of Delivery
AYU,

D. is delivery address different forh item 1? © Yes
If YES, enter delivery address below: 0 No

\

 

 

 

3. Service Type
OC) Certified Mail® (1 Priority Mail Express™
Cl Registered CI Return Receipt for Merchandise
CD Insured Mail C1 Coltect on Delivery

 

 

4. Restricted Delivery? (Extra Fee) CJ Yes

 

 

2. Article Number i
(Transfer from service lab. _~

i 2ololezad aba sue2 eo4y |

 

_ PS Form 3811, July 2013

Domestic Return Receipt

    
 

 

 

 

CAS Burteb S Hi ERO SERFaEE CU Ment # led: 03/PTS. Page 2
A Se Postage & Fees Paid
2k MAR C26 Permit No. G-10
ae Sh

 

FORE es

* Sender: Please print your name, address, and ZiP+4® in this box®

 

deel HH elt tied
United States District Court _
' 120 N. Henry Street, Room 320 —
Madison, WI 53703

 

 

 

S-CRSP UMIC 2.
MeL ated he goagh Thy op lel Mpg

 
